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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BOB A. BRINSON,

               Plaintiff,
                                                          Case No. 17-cv-01659
       v.
                                                          Hon. John Z. Lee
JACQUELINE LASHBROOK et al.,

               Defendants.


                         UNOPPOSED MOTION FOR EXTENSION
                     OF SUMMARY JUDGMENT BRIEFING SCHEDULE

       Plaintiff Bob A. Brinson (“Plaintiff”), through his undersigned counsel, hereby submits

this Unopposed Motion for Extension of Summary Judgment Briefing Schedule (“Motion”) and

states as follows:

       1.      According to the Court’s original summary judgment briefing schedule,

Defendants Wexford Health, Inc., John Trost, M.D., and Saleh Obaisi, M.D. (together, the

“Wexford Defendants”) and Defendants Randy Pfister and Jeff Hutchinson (the “IDOC

Defendants,” and together with the Wexford Defendants, “Defendants”) were required to submit

their motions for summary judgment no later than June 11, 2019. See ECF Doc. 116.

       2.      Defendants twice requested extensions of the summary judgment briefing

schedule. See ECF Docs. 117, 123. Plaintiff did not oppose these extensions.

       3.      After the second extension, Defendants’ motions for summary judgment were due

July 3, 2019. See ECF Doc. 125. On this schedule, Plaintiff’s response is due August 6, 2019,

and Defendants’ replies are due August 27, 2019. See ECF Doc. 125.




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       4.      The Wexford Defendants and IDOC Defendants each filed a motion for summary

judgment on July 3, 2019.

       5.      Federal Rule 6(b), in relevant part, states as follows:

               Enlargement. When . . . by order of court an act is required or allowed to
               be done at or within a specified time, the court for cause shown may at any
               time in its discretion (1) with or without motion or notice order the period
               enlarged if request therefore is made before the expiration of the period
               originally prescribed or as the expiration of the period originally
               prescribed or as extended by a pervious order . . .

Fed. R. Civ. P. 6(b).

       6.      Counsel for Plaintiff has been working diligently to prepare Plaintiff’s responses

to both the Wexford Defendants’ and IDOC Defendants’ motions for summary judgment. The

requested extension is needed due to Plaintiff’s need to respond to both the Wexford Defendants’

and IDOC Defendants’ motions, including responding to both memoranda and Rule 56.1

statements and preparing Plaintiff’s own materials to be provided in support of its responses.

Accordingly, Plaintiff requests an extension until September 6, 2019 to finalize and file

Plaintiff’s responses to both motions for summary judgment, and an accompanying extension to

Defendants’ reply dates.

       7.      Plaintiff requests the Court enter a modified schedule as follows: Plaintiff’s

responses to Defendants’ motions for summary judgment will be due September 6, 2019;

Defendants’ replies will be due by September 27, 2019.

       8.      Defendants do not object to the relief requested herein.

       9.      Further, this Motion is brought in good faith and not for the purposes of delay,

and no party will be prejudiced by the granting of this Motion.

       WHEREFORE, for the foregoing reasons, Plaintiff Bob A. Brinson respectfully requests

that this Court enter an Order granting this motion and entering the following proposed amended



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summary judgment briefing schedule: Plaintiff’s responses to Defendants’ motions for summary

judgment will be due September 6, 2019; Defendants’ replies will be due by September 27,

2019.


Dated: July 26, 2019                      Respectfully submitted,

                                                 BOB A. BRINSON

                                                 By: /s/ Megan R. Grant
                                                    One of His Attorneys

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                                                 Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on July 26, 2019, a copy of the

foregoing document was served using the Court’s CM/ECF system, which will send an

electronic notice of filing to all counsel of record.




                                                        /s/ Megan R. Grant




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